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 UNITED STATES DISTRICT COURT                            EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                      §
                                              §
versus                                        §           CASE NO. 1:14-CR-77-2
                                              §
PATRICK NEAL MOFFITT                          §

         ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

         On this day, the court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Zack Hawthorn regarding the Defendant’s plea of guilty to Count Two

of the Indictment in the above-numbered case. Having conducted a proceeding in the form and

manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the court accept

the guilty plea of the Defendant. The court is of the opinion that the Findings of Fact and

Recommendation should be accepted.

         It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge are ADOPTED.

         It is further ORDERED that the Defendant’s guilty plea and the plea agreement are

ACCEPTED by the court.

         It is finally ORDERED that the court finds the Defendant guilty on Count Two of the

Indictment.
        .
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 27th day of October, 2014.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE
